
COBB, Judge
(concurring in part and dissenting in part).
I concur in affirming the appellant’s conviction; however, I would reverse his sentence and remand the case for resen-*366tencing in accordance with Judge Shaw’s special writing in Poole v. State, 846 So.2d 370 (Ala.Crim.App.2001), with which I concurred as to this issue. As to those points on which I disagree with Judge Shaw, see my special writing in Poole, 846 So.2d 398. I believe that these sentence enhancements must be charged in the indictment and proved to the jury beyond a reasonable doubt, and that the failure to do so is a jurisdictional defect which this Court should notice and remedy on appeal. Therefore, as to the sentencing issue, I dissent.
